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                                                                                                                             _F_I_LE_D--,l
     ~AO   2456 (CASD) (Rev. 1112)   Judgment in a Criminal Case
                                                                                                                                  MAR 25 2013                     I




                                                                                                                                                                  I
                Sheet 1


                                                                                                                                    •0ISTIIICl Of CALIf'(lfIHIA
                                               UNITED STATES DISTRICT COUR-t.!!....!(..l!L-____OI
                                                                                               ;;,;;;oPUf'f....-..·

                                                   SOUTHERN DISTRICT OF CALIFORNIA
                     UNITED STATES OF AMERICA                                         JUDGMENT IN A CRIMINAL CASE
                                         v.                                           (For Offenses Committed On or After November I, 1987)

                                 Luis Garcia -1                                       Case Number: J2-cr-04733-JAH-I

                                                                                      Cassandra Lucinda Lopez Federal Defenders
                                                                                      Defendant's Attorney
     REGISTRATION NO. 35411298

     D
     THE DEFENDANT:
     ~     ~e~~~~~ro~~~0~n~e~0~f~t=~~fu=6=0~=a~t~~=n_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _~

     D     was found guilty on count(s)_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
           after a plea of not gUilty.
           Accordingly, the defendant is adjudged guilty of such rount(s), which involve the following otfense( s):
                                                                                                                                             Count
     Title & Section                          Nature of Offense                                                                             Number(s)
21 USC 952, 960                        Importation of Heroin                                                                                1




        The defendant is sentenced as provid~ in pages 2 through                  4          ofthis judgment. The sentence is imposed pursuant
 o
 to the Sentencing Reform Act of 1.984.
      The defendant has been found not guilty on count(s)

 o    Count(s)_,_ _ _ _ _ _ _ _            ~----------- is 0
                                                             --~----------~~~-------------------------
                                                                                                 areD dismissed on the motion of the United States.
 ~   .Assessment: $100:00 waived. '




 [8l No fine                                        D    Forfeiture pursuant to order filed _ _ _ _ _ _ _ _ _ , included herein.
       IT IS ORDERED that the defendant shall notify the United States Attorney for this distriet within 30 days of any change of name, residence,
 or mailing address until all fines, res!itution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
 defendant shall notifY the court and United States Attorney of any material change in the defendant's economic circumstances.




                                                                                NITED STATES DISTRICT JUDGE



                                                                                                                                           12-cr-04733-JAH-1
         Case 3:12-cr-04733-JAH Document 30 Filed 03/25/13 PageID.84 Page 2 of 4


AO 245B (CASD) (Rev. 1/12) ludgment in a Criminal Case
           Sheet 2 - Imprisonment

                                                                                            Judgment   Page _ _2_   of       4
 DEFENDANT: Luis Garcia -1
 CASE NUMBER: 12-cr-04733-JAH-l
                                                           IMPRISONMENT
         The defendant is hereby committed to the custody ofthe United States Bureau of Prisons to be imprisoned for a term of
         Twenty-eight months.



    o Sentence imposed pursuant to Title 8 USC Section 1326(b).
    o The court makes the following recommendations to the Bureau of Prisons:

    o The defendant is remanded to the custody of the United States Marshal.
    o The defendant shall surrender to the United States Marshal for this district:
           Oat                                    Oa.m.      Op.m.         on
               as notified by.the United States Marshal.

     D The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          o    before
                        ------------------------------------------------------------------------
          o    as notified by the United States Marshal.
          o    as notified by the Probation or Pretrial Services Office.


                                                                RETURN
 I have executed this judgment as follows:

         Defendant delivered on                                                 to

 at _ _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.


                                                                                          UNITED STATES MARSHAL


                                                                      By
                                                                                      DEPUTY UNITED STATES MARSHAL




                                                                                                               12-cr-04733-JAH-l
                Case 3:12-cr-04733-JAH Document 30 Filed 03/25/13 PageID.85 Page 3 of 4
AO 245 Rev. 1 2) Judgment in a Criminal Case
           Sheet 3 — Supervised Release
                                                                                                                Judgment—Page        3     of        4
DEFENDANT: Luis Garcia -1
CASE NUMBER: 12-cr-04733-JAH-1
                                                          SUPERVISED RELEASE
Up on release fro m imp risonm ent, the defendant shall b e on su pervised release for a term of :
Four years.

         The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from
the custody of the B ureau of P risons.
The defendant shall not commit another federal, state or local crime.
For offenses committed on or after September 13, 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. T he de fendant shall sub mit to one drug test within 15 d ays of release fro m imp risonm ent and at least two perio dic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than 4 drug tests per month during
the term of supervision, unless o therwise ordered by court.

G      The above drug testing condition is suspended, based on the court’s determination that the defendant poses a low risk of
       future sub stance abuse. (Check, if ap plicab le.)

G      The defendant shall not posse ss a firearm , amm unition, d estructive dev ice, or a ny other dangerous weapon .
        The defendant shall cooperate in the collection of a DNA sample from the defendant, pursuant to section 3 of the DNA Analysis
G       Backlog Elimination Act of 2000, pursuant to 18 USC sections 3563(a)(7) and 3583(d).
        The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.) as directed
G      
        by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides, works, is a student, or
       was convicted of a qualifying offense. (Check if applicable.)

G      The defendant shall pa rticipate in an ap proved program for do mestic violence. (Check, if applica ble.)
          If this judgment imposes a fine or restitution obligation, it is a condition of supervised release that the defendant pay any such fine
or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule of Payments set
forth in this judgm ent.
        The defendant must comply with the standard conditions that have been adopted by this court. The defendant shall also com ply with
any special conditions imposed.

                                        STANDARD CONDITIONS OF SUPERVISION
  1)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)    the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
  3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)    the defenda nt shall support his or her d epend ents and me et other family responsibilities;
  5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
        acceptable reasons;
  6)    the defendant shall notify the probation officer at least ten d ays prio r to any change in resid ence or em ploym ent;
  7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
        controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)    the defendant shall not associate with an y perso ns engaged in criminal activity and shall not asso ciate with any person convicted of
        a felony, unless granted permission to do so by the probation officer;
10)     the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
        contraband observed in plain view of the probation officer;
11)     the defendant shall notify the probation officer within seventy-two ho urs of being arrested or qu estione d by a law enforcement officer;
12)     the defendant shall not enter into any agreement to act as an informer or a special agent of a law enfo rcem ent agency without the
        permission of the court; and
13)     as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant’s criminal
        record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
        defendant’s compliance with such notification req uirement.

                                                                                                                                    12-cr-04733-JAH-1
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          AO 245B (CASD) (Rev. 1/12) Judgment in a Criminal Case
                      Sheet 4   Special C011ditio11s
                                                                                                          Judgment~-Page _ _4_   of _....;;4:..--__

          DEFENDANT: Luis Garcia -I                                                                 a
          CASE NUMBER: 12-cr-04733-JAH-l




                                                   SPECIAL CONDITIONS OF SUPERVISION
I2SI   Submit person, residence, office or vehicle to a search, conducted by a United States Probation Officer at a reasonable time and in a .
       reasonable manner, based upon reasonable suspicion of contraband or evidence of a violation of a condition of release; failure to submIt to a
       search may be grounds for revocation; the defendant shall warn any other residcnts that the premises may be subject to searches pursuant to
       this condition.
o officer
  If deported, excluded, or allowed to voluntarily return to country of origin, not reenter the United States illegally and report to the probation
          within 24 hours of any reentry to the United States; supervision waived upon deportation, exclusion or voluntary departure.
o      Not transport. harbor, or assist undocumented aliens.
o      Not associate with undocumented aliens or alicn smugglers.
o      Not rcenter the United States illegally.
I2SI Defendant shall be permitted to reside in Mexico.
I2SI Report all vehicles owned or operated, or in which you have an interest, to the probation officer.
o      Not possess any narcotic drug or controlled substance without a lawful medical prescription.
o      Not associate with known users of, smugglers of, or dealers in narcotics, controlled substances, or dangerous drugs in any form.
o      Participate in a program of mental health treatment as directed by the probation officer, take all medications as prescribed by a
       psychiatrist/physician, and not discontinue any medication without permission. The Court authorizes the release of the presentence report
       and available psychological evaluations to the mental health provider. as approved by the probation officer. Allow for reciprocal release of
       information between the probation officer and the treatment provider. May be required to contribute to the costs of services rendered in an
       amount to be determined by the probation officer, based on the defendant's ability to pay.
o Take no medication containing a controlled substance without valid medical prescription, and provide proof of prescription to the probation
       officer, if directed.
~ Provide complete disclosure of personal and business financial records to the probation officer as requested.
o probation
  Be prohibited from opening checking accounts or incurring new credit charges or opening additional lines of credit without approval of the
            officer.
o Seek and maintain full time employment andlor schooling or a combination of both.
o      Resolve all outstanding warrants within                days.
o      Complete            hours of community service in a program approved by the probation officer within
I2SI   Reside in a residential re-entry center for up to 120 days as directed.

o      Participate in a program of drug or alcohol abuse treatment, including urinalysis or sweat patch testing and counseling, as directed by the
       probation officer. Allow for reciprocal release of information between the probation officer and the treatment provider. May be required to
       contribute to the costs of services rendered in an amount to be determined by the probation officer, based on the defendant's ability to pay.

o Comply with the conditions of the Home Confinement Program for a period of                                    months and remain at your residence
       except for activities or employment as approved by the court or probation officer. Wear an electronic monitoring device and follow
       procedures specified by the probation officer. Pay the total cost of electronic monitoring services, or a portion if deemed appropriate by the
       probation officer.




                                                                                                                                  12-cr-04733-JAH-l
